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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                           :
 DAVID J. CATANZARO,                       :        Civil Case No. 3:22-cv-1754-JFS-PJC
                                           :
                        Plaintiff,         :        Judge Joseph F. Saporito, Jr.
                                           :        Referred to: Judge Phillip J. Caraballo
                                           :
        v.                                 :
                                           :
                                           :
 LYKART TECHNOLOGIES LLC,                  :
 ET AL.,                                   :
                                           :
                        Defendants.        :
                                           :


               DEFENDANT APPLE INC.’S DISCLOSURE STATEMENT
                       PURSUANT TO FED. R. CIV. P. 7.1

       Pursuant to Federal Rule of Civil Procedure Rule 7.1, Apple Inc. discloses that it has no

parent corporation, and no publicly held corporation owns 10% or more of its stock.



 Dated: June 12, 2025                                Respectfully submitted,




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